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  ~<i\l Department of the Treasury                                            Date:
   fdlI//1 Internal Revenue Service                                           December 19, 2017
           Small Business and Self-Employed                                   Taxpayer ID number (last 4 digits):
  IRS      12600 W Colfax Ave Suite c300                                      0994
                                                                              Tax year:
           MS 4161 DH
                                                                              December 31, 201? through 201 S"
           Lakewood CO 80215                                                  Fonn number:
                                                                              1040
                                                                              Person to contact:
           CARLS WEMHOFF                                                      David Hewell
           4465 W 94TH A VE                                                   Employee ID number:

           WESTMINSTER CO 80031-3160                                          08-98924
                                                                             Contact telephone number:
                                                                              720-956-4675
                                                                             Contact fax number:
                                                                              888-765-1496
                                                  Confirmation
  Dear CARL S WEMHOFF:

 This letter is provided to confirm an appointment to examine your federal income tax return for the year(s)
 shown above.
   Place: 5460 S. Quebec St. Suite 310                         Date: January 17, 2018
          Greenwood Village, CO 80111
                                                               Time: 9:00    AM


 What to expect at the examination
The examination is scheduled to last approximately     8 hours. During the examination, I will review the
items requested in the Information Document Request previously sent to you. It is important that you bring all
the items listed on the Information Document Request to the appointment. My goal is to complete your
examination at the initial meeting. However, depending on the results of this initial meeting and the supporting
items you provide, I may ask you to provide additional items and/or schedule a follow-up meeting. At the
completion of the examination, you may owe additional tax, be due a refund, or there may be no change to
your return.
A video presentation, "Your Guide to an IRS Audit", is available at http://www.irsvideos.gov/audit. The video
explains the examination process and will assist you in preparing for your audit.
Who may come to the examination
 If you filed a joint return, you and/or your spouse may attend. You may also have someone represent you at the
 examination. If you will not attend with your representative, you must provide a completed Form 2848, Power
ofAttorney, or Form 8821, Tax Jriformation Authorization, by the start of the examination. You can obtain these
4enns fro1l1"01lroffice, from our web site, www.irs.gov, or--bycailing~t8:00}=829-3676.




                                                                                          Letter 3573 (Rev. 1-2017)
                                                                                          Catalog Number 34403N


                                                  EXHIBIT 6
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What will happen if you do not keep the appointment

If you do not keep your appointment or provide the requested records, we will issue an examination report
showing additional tax due. Therefore, it is to your advantage to keep your appointment and provide the
records. If you are uncertain about the records needed or the examination process, please do not hesitate to call
the phone number listed above.


                                                         Si; s;;a
                                                       G.vid J. Hewell
                                                         Revenue Agent

Enclosures:




                                                                                        Letter 3573 (Rev. 1-2017)
                                                                                        Catalog Number 34403N


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                                             Department of the Treasury - Internal Revenue Service                  Request Number
 Form  4564
 (Rev. September 2006)                   Information Document Request                                                0001
 To: (Name of Taxpayer and Company Division or Branch)                                       Subject
                                                                                             Initial Document Request
  CARLS WEMHOFF
                                                                                             SAIN number     !Submitted to:
                                                                                                               CARL S WEMHOFF
  Please return Part 2 with listed documents to requester identified below                   Dates of Previous Requests (mmddyyyy)


  Description of documents requested
  Tax Period(s):    201312 ; 201412; 201512; 201612


  In the examination of your federal tax return for the years 2013, 2014, 2015, & 2016, please provide
  copies of the following:

      1. Banking statements, both personal and business, from December 01 , 2012 through January 31,
         2017

 In regards to your business CSW Consulting, AKA Colorado Colitas LLC, DBA Herbal Remedies, the
 following items are still outstanding from prior request regarding the federal examination of 2013, 2014,
 and 2015 years. Please provide copies:

      1.   Articles of Incorporation with any recorded minutes
      2.   Reconciliation of all Shareholder capital accounts and basis
      3.   A complete General Ledger for all years (The one provided is redacted and incomplete)
      4.   Point-of-sale system/register Z-journal or point-of-sales annual sales report and monthly sales
           reports
      5.   METRC annual sales report
      6.   Computation of Cost of Goods Sold, including Cost of Goods Manufactured , Direct Materials,
           Direct Labor and Indirect Production Cost allocations
      7.   Bank reconciliations with monthly bank statements available during appointment
      8.   Detailed documents to support all loan receivables and payables, including but not limited to,
           loan agreements, payment schedules, etc.

 In regards to your business CSW Consulting, AKA Colorado Colitas LLC, DBA Herbal Remedies
 please provide the following for use in the examination of the 2016 year:

     1 . Reconciliation of all Shareholder capital accounts and basis
     2. Profit & Loss Statement and Balance Sheet
     3. General Ledger and subsidiary ledgers, including but not limited to, accounts receivable,
         accounts payable, etc.
     4. Sales Journal, Cash Receipts and Disbursements Journals, i.e. Check Register.
     5. Point-of-sale system/register Z-journal or point-of-sales annual sales report and monthly sales
         re orts

  Information due by-    01/17/2~-                         At next appointment       [x)      Mail-irl-Q

            [\      Name and Title of Requester                                  Employee ID number        Date (mmddyyyy)

            I \     David Hewell, Revenue Agent                                  08-98924                  12/19/2017
  From:             Office Location:     12600 W Colfax Ave Suite c300                                     Phone: 720-956-4675
                                         MS 4161 DH                                                        Fax: 888-765-1496
                                         Lakewood, CO 80215
Catalog Number 23145K -    www.irs.gov            Part 2 - To be Returned by Taxpayer with Reply --,__--            Form 4564 (Rev. 9-2006)




                                                             EXHIBIT 6
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                                                 Department of the Treasury - Internal Revenue Service                Request Number
 Form  4564
 (Rev. September 2006)                     Information Document Request                                               0001

 To: (Name of Taxpayer and Company Division or Branch)                                         Subject
                                                                                               Initial Document Request
  CARL S WEMHOFF
                                                                                               SAIN number     /Submitted to:
                                                                                                                 CARL S WEMHOFF
  Please return Part 2 with listed documents to requester identified below                     Dates of Previous Requests (mmddyyyy)

       ..
  Description of documents requested
  Tax Period(s):    201312; 201412; 201512 ; 201612


      6. METRC annual sales report
      7. Computation of Cost of Goods Sold, including Cost of Goods Manufactured, Direct Materials,
          Direct Labor and Indirect Production Cost allocations
      8. Bank reconciliations with monthly bank statements available during appointment
      9. Detailed documents to support all loan receivables and payables, including but not limited to,
          loan agreements, payment schedules, etc.
      10. Accountant's workpapers regarding :
              i. Year-end worksheet reconciling books to return, including working trial balance.
              ii. Year-end Adjusting Journal Entries and Closing Entries
              iii. Year-end Bank Reconciliation 's
      11. Audited financials, if any.
      12. Employment Tax Returns etc., form 940's, 941, W-2's and W-3's and other information returns
          such as form 1099's




  Information due by      01/17-/20-1 8                       At next appointment     [Kl       Mailin   0
                    Name and Title of Requester                                     Employee ID number       Date (mmddyyyy)

                       David Hewell, RevenueAgent                                   08-98924                 12/19/2017
            \
  From:

            V
                       Office Location :     12600 W Colfax Ave Suite c300                                   Phone: 720-956-4675
                                             MS 4161 DH                                                      Fax: 888-765-1496
                                             Lakewood , CO 80215
Catalog Number 23145K         www.irs. gov           Part 2 - To be Returned by Taxpayer with Reply                   Form 4564 (Rev. 9-2006)




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 (i)IRS                       Your Rights as a
Department of the Treasury
Internal Revenue Service
Publication 1
                              Taxpayer
(Rev. September 2012)
Catalog Number 64731W         The first part of this publication explains some of your most important rights as a
                              taxpayer. The second part explains the examination, appeal, collection, and refund
www.irs.gov                   processes. This publication is also available in Spanish.



                                           Declaration of Taxpayer Rights
                               -- - - - - - - - ~ - - - - ~ - ~ - - ~- ---- -     - - - - - - - - - - ~ -- - - - -


                                I. Protection of Your Rights                    V. Payment of Only the
                                IRS employees will explain and protect
                                                                                Correct Amount of Tax
                                your rights as a taxpayer throughout your
                                                                                You are responsible for paying only the
                                contact with us.
                                                                                correct amount of tax due under the
                                                                                law-no more, no less. If you cannot pay all
                                                                                of your tax when it is due, you may be able
                                II. Privacy and                                 to make monthly installment payments.
                                Confidentiality
                                The IRS will not disclose to anyone the
                                information you give us, except as
                                                                                VI. Help With Unresolved Tax
                                authorized by law. You have the right to        Problems
                                know why we are asking you for
                                information, how we will use it, and what       The Taxpayer Advocate Service can help
                                happens if you do not provide requested         you if you have tried unsuccessfully to
                                information.                                    resolve a problem with the IRS. Your local
THE IRS MISSION                                                                 Taxpayer Advocate can offer you special
                                                                                help if you have a significant hardship as a
PROVIDE AMERICA'S              Ill. Professional and                            result of a tax problem . For more
                                                                                information, call toll free 1-877-777-4778
TAXPAYERS TOP QUALITY          Courteous Service                                (1-800-829-4059 for TTY/TDD) or write to
                                                                                the Taxpayer Advocate at the IRS office
SERVICE BY HELPING THEM        If you believe that an IRS employee has not      that last contacted you.
                               treated you in a professional, fair, and
UNDERSTAND AND MEET            courteous manner, you should tell that
                               employee's supervisor. If the supervisor's
THEIR TAX RESPONSIBILITIES     response is not satisfactory, you should         VII. Appeals and Judicial
                               write to the IRS director for your area or the
AND BY APPL YING THE TAX       center where you file your return.
                                                                                Review
LAW WITH INTEGRITY AND                                                          If you disagree with us about the amount of
                                                                                your tax liability or certain collection
FAIRNESS TO ALL.               IV. Representation                               actions, you have the right to ask the
                                                                                Appeals Office to review your case. You
                               You may either represent yourself or, with       may also ask a court to review your case.
                               proper written authorization, have someone
                               else represent you in your place. Your
                               representative must be a person allowed to
                               practice before the IRS, such as an              VIII. Relief From Certain
                               attorney, certified public accountant, or
                               enrolled agent. If you are in an interview
                                                                                Penalties and Interest
                               and ask to consult such a person, then we
                                                                                The IRS will waive penalties when allowed
                               must stop and reschedule the interview in
                                                                                by law if you can show you acted
                               most cases.
                                                                                reasonably and in good faith or relied on
                                                                                the incorrect advice of an IRS employee.
                                  You can have someone accompany you
                                                                                We will waive interest that is the result of
                               at an interview. You may make sound
                                                                                certain errors or delays caused by an IRS
                               recordings of any meetings with our
                                                                                employee.
                               examination, appeal, or collection
                               personnel, provided you tell us in writing 10
                               days before the meeting.




                                                  EXHIBIT 6
